
GIBSON, Circuit Judge,
concurring specially.
I concur in the district court opinion as I am satisfied that circuit precedent requires it. I write specially because I would remand this case to the district court for further consideration of the equities under Ohio law as to whether a constructive trust should be imposed on those funds now held by the district court. In Central States, SE &amp; SW Areas Pension v. Howell, 227 F.3d 672 (6th Cir.2000), under circumstances that are very similar to those described in the magistrate judge’s opinion, this court remanded to the district court for further consideration of whether the equities are such that the district court should impose a constructive trust on the ERIS plan proceeds for the benefit of the wife. I believe we should follow the same procedure.
